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Piaintifr, clviL AcTioN No.
v. 04-2775-B/P

M|RAB!LE |NVESTMENT CORPORAT|ON
and OLlVE O|L ASSOC|ATES
dlbla POPEYE’S CH|CKEN AND BlSCU|T
RESTAURANT,

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Defendant. )

 

CONSENT DECREE

 

This lawsuit was filed September 28, 2004, by the Equal Employment Opportunity
Commission (EEOC) against Mirabi!e investment Corporation and O|ive Oi| Associates,
doing business as Popeye’s Chicken and Biscuits Restaurant (Popeye’s) under Title V|l
of the Civil Rights Act of 1964, as amended, 42 U.S.C. Section 20009, e_t gm (Title V|I).
The Comp|aint in this lawsuit claims that Popeye’s permitted one of their shift managers
to sexually harass Cotrina Black; allowed one oftheirGenera| Managers to sexually harass
female employees, including but not limited to Latasha Thompson, Sandra Powe|l, Erica
Joyner, Linda Rokitka, and Ashlee Harlmon; and terminated the employment of Cotrina
B|ack in retaliation for her sex discrimination complaints. Popeye's denied all of these
claims.

EEOC and Popeye’s have agreed to this consent decree to settle all of the claims

involved in this lawsuit.

This document entered on the docket sheet ln compliance //_
with Flula 58 and/or 79(a) FRCP on ‘ 1 girl

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The Court has reviewed the terms of this decree in light of the applicable laws and

regulations, and hereby approves this decree. THEREFORE, it is hereby ORDERED:
l. JUR|SD|CT|ON

The United States District Court for the Western District of Tennessee, Western
Division, has jurisdiction overthe parties and subject matter of this |awsuit, and will retain
jurisdiction over this decree for purposes of enforcement and dispute resolution

l|. D|SCLA|MER

Neither the negotiation of or agreement to this decree is an admission or
acknowledgment by F’opeye’s that any of its employees, officers, directors, or agents have
violated Title Vll.

||l. DURAT|ON OF DECREE

This decree will be binding on the parties to this lawsuit forthree years afterthe date

of its entry by the Court.
lV. lNJUNCT|VE REL|EF

Popeye’s, its supervisors1 managers, officers, directors, agents, and successors are
enjoined from subjecting employees to sexual harassment, and from retaliating against
employees, in violation of Title Vl|.

V. |ND|V|DUAL RENlEDlES

Popeye’s will pay a total of $95,000.00 in monetary damages, as directed by EEOC,
to Cotrina B|ack, Latasha Thompson, Sandra Powe||, Erica Joyner, Ash|ee Har|mon, and
Julia Thompson, within twenty days after receipt of the payment instructions from EEOC.

The payments will be made by mailing checks to the individuals at the addresses which Will

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be provided by EEOC. A copy of the checks (front and back), will be mailed at the same
time to:

Carson L. Owen, Senior Trial Attorney

Equal Emp|oyment Opportunity Commission

1407 Union Ave., Suite 621

l\/|emphis, TN 38104

V|. TRA|N|NG
Within thirty days after receiving a copy of this decree entered by the Court,
Popeye’s will provide training for all of its employees employed at its facility located at 1430
East Brooks Road in |\/lemphis, Tennessee (hereafter “the facility”), concerning the
responsibility of all employees not to harass other employees and tc report promptly any
harassment which occurs.. This training will also address the responsibility of supervisors
and managers to deal quickly, effective|y, and fairly with any harassment found to have
occurred, and not to retaliate against employees for complaining about unlawful
harassment or filing charges with EEOC. Within twenty days after the completion of this
training, Popeye’s will submit a report to Carson Owen, at the address indicated above,
confirming that this training has occurred.
Vl|. POL|CY PROH|B|T|NG HARASSMENT
The policy prohibiting harassment which is attached to this decree wiil be complied

with by Popeye’s. Within thirty days after receiving a copy of this decree entered by the
Court, each employee at the facility will be required to read and sign a copy of this policy,
and will be given a copy of the policy. Within twenty days after this requirement has been

complied with, Popeye’s will submit a report to Carson Owen, at the address indicated

above, confirming that this requirement has been complied with. Thereafter, whenever a

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new employee is hired, he or she will be required to read and sign a copy of this policy, and
will be given a copy of the policy.
Vlll. REPORT|NG

Popeye’s will submit a report to Carson l_. Owen, at the address indicated above,
six months after the entry of this decree, and every six months thereafter during the
duration of this decree. Each report will describe all complaints received from employees
at the facility concerning harassment at work, including the name, home address, and
home telephone number of each employee who complainedl the nature of the complaint,
what action, if any, was taken in response to the complaint, and if no action Was taken an
explanation of why no action was taken.

|X. POST|NG OF NOT|CE

Within ten days after receiving a copy of this decree entered by the Court, Popeye's
will post the notice attached to this decree for thirty days in conspicuous places at the
facility where notices to employees are customarily posted. Within fifty days after receiving
a copy of this decree entered by the Court, Popeye’s will send a letter to Carson Owen, at
the address indicated above, verifying that this requirement has been complied with.

X. ATTORNEY'S FEES AND COSTS

EEOC and Popeye’s will each bear their own attorney’s fees and costs incurred in

this |awsuit.

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so 0RDEREDth &O day of , ,2005.

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.b NiEL BREEN
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Consented to on behalf of the respective parties:

FOR PLA|NT|FF EEOC:

ER|C S. DRE|BAND
General Counsel

JAMES LEE
Deputy General Counsel

GWENDOLVN YOUNG REAMS
Associate General Counsel

KATHAR|NE W. KORES
Regional Attorney
Tennessee Bar No. 006283

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FKYECW|LL|AMS
Supervisory Trial Attorney
Tennessee Bar No. 011730

@/%,ee_`

CARSON L. OWEN
Senior Trial Attorney
Tennessee Bar No. 009240

EQUAL EMPLOYMENT OPPORTUN|TY
COMM|SSION

1407 Union Avenue, Suite 621

Memphis, Tennessee 38104

Te|ephone No. (901) 544-0133

FOR DEFENDANT:

bd /‘/lmQ)rQe

JOSEPH . MiRABlLE
President, Mirabile investment Corp.
Co-Owner, O|ive Oil Associates,

a partnership

G. PATR|CK ARNOULT

THE BOGAT|N LAW F|RN|, PLC
Suite 300

1661 lnternational P|ace Drive
l\/lemphis, TN 38120

Te|ephone No. (901) 767-1234

ATTORNEYS FOR DEFENDANT

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NOT|CE

This Notice is being posted as part of a settlement agreement between Popeye’s
and the United States Equal Emp|oyment Opportunity Commission (EEOC).

EEOC enforces Title Vll of the Civi| Rights Act of 1964 (Title Vl|), which prohibits
employment discrimination based on race, color, religion, sex (inc|uding sexual
harassment), or national origin; the Age Discrimination in Emp|oyment Act; the Equal Pay
Act; sections of the Civil Rights Act of 1991 ; and Title l of the Americans With Disabilities
Act, which prohibits discrimination against people with disabilities Popeye’s supports
these Federa| laws in all respects.

Two former employees of ours filed charges with EEOC complaining that they had
been sexually harassed by their co-Workers and managers. One ofthe former employees
also claimed that she was discharged for complaining about the sexual harassment We
denied those claims. EEOC filed a lawsuit against us based on the charges, and claimed
that seven women had been sexually harassedl

The lawsuit has now been settled. We have trained our managers about their
responsibilities not to harass employees, to report all complaints about harassment, to
respond quickly, effectively1 and fairly whenever harassment is found to have occurred,
and not to retaliate against employees who complain We have a harassment policy, and
all of you have seen it and signed it. We will not tolerate harassment of anyone in the

workplace lt is your responsibility to help us make sure no harassment occurs, and, if it

meyeme

Joseph V\H l\/lirabile, Co-Owner

does, that it is reported.

 

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POPEYES CHICKEN AND BISCUIT SEXUAL HARASSMENT POLICY AND PROCEDURE
Sexual Harassment Policy

Our company strives to maintain a work environment where all crew members will work free from
harassment. The company will not tolerate harassment of any kind.

Sexual harassment has been defined by the EEOC as any “unwelcome sexual advances, request for
sexual favors, and any other verbal or physical conduct of a sexual nature”. Some examples of sexual
harassment could be:

A crew member is told directly or indirectly that he/she must be subjected to such conduct as a condition
of employment

Employment decisions affecting the crew member are based on whether or not the crew member
submitted to such conduct

Such conduct results in unreasonable interference with a crew member’s work performance or has
created an intimidating, hostile, or offensive work environment

At Olive Oil - Popeyes, all employees are protected under this policy, regardless of their position title. If
you are subject to such a situation, it is your responsibility to report this conduct through grievance
procedures outlined below.

The Grievance Procedure for Sexual Harassment is as follows:

Step 1 - Discuss the complaint with your restaurant manager if the problem involves an assistant
manager, coworker, or non-crew member (such as a customer or vendor). If the problem involves your
restaurant manager or a higher level manager, or if you are just not comfortable discussing the problem
with your restaurant manager, then call the Human Resources Director at 324-0459, ext. 2122, to discuss
the problem

Step 2 - If your restaurant manager does not handle the problem to your satisfaction, ask to see your
district manager. Your district manager will set up a meeting with you. If your district manager cannot
resolve the problem, contact Human Resources Director and!or the Director of Operations. Further
information will be gathered in a confidential manner and fair and impartial decision will be made.

Employee Problem Solving Procedures

An organization as large and complex as our organization has the potential for work related differences
and disagreements. It is the company’s responsibility to resolve such issues as soon as they happen,
based on facts. These resolutions will be fair and impartial. No member of management is too busy to
listen to concerns or complaints of any crew member.

Sometimes a situation cannot be resolved easily. If you have a concern or Complaint, we have a

procedure that assures you a complete review of the situation. Again, resolutions to such situations will
be fair and impartial.

P:\l - [.it. - Popeye`s (Mirabile lliv.)\Sexual Harassment Policy - Drai`t With Proposcd Cltange by EEOC.wpd

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CV-02775 Was distributed by faX, mail, or direct printing on
.luly 21, 2005 to the parties listed.

ESSEE

 

Faye A. Williams

EQUAL El\/[PLOYl\/[ENT OPPORTUNITY COl\/[MISSION
1407 Union Avenue

Ste. 621

1\/lemphis7 TN 38104

Carson L. Owen

EQUAL El\/[PLOYl\/[ENT OPPORTUNITY COl\/[MISSION
1407 Union Avenue

Ste. 621

1\/lemphis7 TN 38104

Katharine W. Kores

EQUAL El\/[PLOYl\/[ENT OPPORTUNITY COl\/[MISSION
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Stephen H. Biller

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/lemphis7 TN 38120

G. Patrick Arnoult

THE BOGATIN LAW FIRM
1661 International Place Dr.
Suite 300

1\/lemphis7 TN 38120

Honorable .l. Breen
US DISTRICT COURT

